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     In The United States Court of Federal Claims
                                            No. 09-152L

                                   (Filed: March 15, 2013)
                                         __________

  CAROLINA PLATING WORKS, INC., and
  BENSON J. and ROSA LEE L. WALDROP,
  husband and wife, Individually, For
  Themselves and As Representatives of a Class
  of Similarly Situated Persons, et al.,

                              Plaintiffs,

                        v.

  THE UNITED STATES,

                               Defendant.

                                             __________

                                              ORDER
                                             __________

        Today, the court held a fairness hearing in this matter. For the reasons stated on the
record, the court concludes that the settlement reached in this case is “fair, reasonable, and
adequate.” RCFC 23(e)(2). Accordingly, the court hereby approves the settlement pursuant to
RCFC 23.

      The Clerk is hereby ORDERED to enter judgment in favor of plaintiffs in the amount of
$148,627.47, including interest, plus $375,000.00 for attorney fees and expenses.

       IT IS SO ORDERED.



                                                             s/Francis M. Allegra
                                                             Francis M. Allegra
                                                             Judge
